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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS                       JUL 07 2020
                                     SHERMAN DIVISION
                                                                                 Clerk, U.S. District Court
                                                                                      Texas Eastern
   UNITED STATES OF AMERICA                            §
                                                       §
   v.                                                  §          No. 4:19CR264
                                                      §           Judge Jordan
   GINA CORWIN (9)                                    §
                                         FACTUAL BASIS

        The defendant, Gina Corwin, hereby stipulates and agrees that at all times relevant to

  the Information herein, the following facts were true:

            1. That the defendant, Gina Cor in, who is changing her plea to guilty, is the

  same person charged in the Information.

            2. That the events described in the Information occurred in the Eastern District

  of Texas and elsewhere.


            3. That Gina Corwin and one or more persons in some way or manner made

  an agreement to commit the crime charged in Count One of the Information, to

  knowingly and intentionally possess with the intent to distribute and dispense 50 grams

  or more of a mixture or substance containing a detectable amount of methamphetamine

  or 5 grams or more of methamphetamine (actual).

           4. That Gina Corwin knew the unlawful purpose of the agreement and joined

  in it with the intent to further it.

           5. That the amount involved during the term of the conspiracy involved at

  least 50 grams but less than 200 grams of a mixture or substance containing a detectable



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  amount of methamphetamine. This amount was involved in the conspiracy after the

  defendant entered the conspiracy, was reasonably foreseeable to the defendant and was

  part of jointly undertaken activity.

                  DEFENDANT S SIGNATURE AND ACKNOWLEDGMENT

          6. I have read this Factual Basis and the Information and have discussed them

  with my attorney. I fully understand the contents of this Factual Basis and agree without

  reservation that it accurately describes the events and my acts.




      Dated: /<                              (V)                     i XO
                                            GINA CORWIN
                                            Defendant



     COUNSEL FOR DEFENDANT’S SIGNATURE AND ACKNOWLEDGMENT

         7. I have read this Factual Basis and the Information and have reviewed them

  with my client. Based upon my discussions with the defendant, I am satisfied that the

  defendant understands the Factual Basis and the Information.




     Dated:           <A-o



                                            Attorney for the Defendant




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